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                         EXHIBIT B
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        IN RE JOHNSON & JOHNSON TALCUM POWDER PRODUCTS
        MARKETING, SALES PRACTICES, AND PRODUCTS LIABILITY
                           LITIGATION
                     MDL NO. 16-2738 (FLW) (LHG)

                                             Shu-Chun Su
                                              2024-05-21
Credentials

        My name is Shu-Chun Su. I have developed methods and published on issues related to the
identification of asbestos by polarized light microscopy (PLM) throughout my more than forty-year
career.

        I was born in China. I majored in Geochemistry at the Department of Geology, Peking
University, for my bachelor’s, a six-year program mirroring science programs at Moscow University.
My Optical Crystallography was a two-semester (40 weeks) course. So was Optical Mineralogy. These
two courses are the foundations of identifying rock-forming minerals using PLM. American Geology
departments teach these two subjects in several weeks, not as complete semester courses. I graduated
from Peking University in 1964, and I worked as a geological engineer in the Geological Survey of
Gansu Province of China for 14 years. My job was to identify rock and mineral samples collected by
field geologists in the geological mapping of the Gansu Province using a Zeiss polarized light
microscope. Serpentine asbestos (chrysotile) was a common mineral species among the field samples
of ultramafic rocks in that area. I developed expertise in the identification of asbestos—and specifically
chrysotile—during my work here.

        In 1979, I attended the Institute of Geology, Chinese Academy of Science, for graduate studies
and obtained my Master's Degree in Mineralogy in 1981. Then, I came to the United States to pursue
my doctoral studies at Virginia Institute of Technology and State University under Professor Donald
Bloss, the preeminent, world-renowned expert in optical crystallography. My doctoral thesis was the
study of silicate minerals by light and electron microscopy and X-ray diffraction spectroscopy, which
are the same techniques used to analyze asbestos. The identification of chrysotile and other asbestos
minerals by light microscopy is something that I have been researching and publishing for more than
forty years.

       After obtaining my Ph.D. in geology in 1985, I did two years of postdoctoral research in the
development of an automatic optical instrument for measuring minerals’ refractive index invented by
Professor Bloss. I went to work at the Research Center, Hercules Incorporated, a specialty chemical
and aerospace company. I was the director of the Optical and Electron Microscopy Laboratory in
Wilmington, Delaware. My job was to characterize materials produced and researched by the company
using various optical and electron microscopy techniques. As part of this work, I characterized
chrysotile and other types of asbestos by PLM.

        In 1988, I was recruited to become a Technical Expert in the Bulk and Airborne Asbestos
Programs by the National Voluntary Laboratory Accreditation Program (NVLAP) under the
Department of Commerce, a government office regulating asbestos analysis laboratories. Since then,
I’ve conducted approximately one thousand on-site audits of asbestos laboratories, mainly in the United
States but also in Canada, Japan, and Korea. These audits assess the laboratories’ managerial and

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technical proficiency in conducting standardized PLM and TEM asbestos analyses. Every asbestos
laboratory with (or seeking) NVLAP accreditation performs PLM asbestos analyses.

       To date, I’ve authored 29 publications on asbestos analysis, which are identified in my
biography, which is attached as Exhibit A.

        In the area of airborne asbestos analysis, I have created 880 pages of comprehensive tables for
the identification of amphibole asbestos, which has been widely used by airborne asbestos laboratories
around the world.

        My most well-known contribution to asbestos analysis is a standard operating procedure to
quickly and accurately measure the refractive index (RI) of asbestos minerals (the primary diagnostic
optical property of “fingerprinting” asbestos minerals) using the central stop dispersion staining
technique by PLM. This procedure is accurate and highly efficient, reducing a lengthy ten-minute
graphic solution of RI value into 10 seconds. This technique has been referred to as the “Su Method”
by scientists practicing in this area and has been cited in textbooks addressing the identification of
asbestos by PLM. The Su Method has been adopted by most analytical laboratories performing PLM
analyses in the United States and overseas. In fact, Dr. William Longo’s laboratory MAS reports that
they themselves have been using my Su Method for Johnson’s Baby Powder analyses.

       In April 2024, at ASTM International’s Michael Beard Conference on Asbestos Terminology,
the organization presented me with an award recognizing my career-long contributions to asbestos
analysis, including recognizing the “Su Method” as a significant achievement in PLM analytical
procedures.




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        As noted above, I am an accomplished expert in the characterization of asbestos minerals by
PLM. It has been a focus of my entire career. As such, I am uniquely qualified to assess whether or not
a laboratory’s PLM data identifying asbestos using my Su Method is reliable and accurate.

Scope of Analysis

        I have been asked to review PLM data put forth by Dr. Longo’s laboratory MAS in which he
claims to identify “chrysotile” in Johnson’s Baby Powder by PLM using central stop dispersion
staining. I am being compensated at a rate of $800 per hour for my scientific analysis of this issue. I
have not provided any deposition or trial testimony in the past four years.

        A list of the MAS reports that I reviewed identifying “chrysotile” in Johnson’s Baby Powder is
identified in Exhibit B.

       As I explain further below, I disagree with each and every single PLM identification of
“chrysotile” in Johnson’s Baby Powder made by Dr. Longo’s laboratory in the reports that I have
reviewed. The data presented by MAS demonstrate significant deficiencies in all areas, which leads me
to conclude that the laboratory is incapable of performing the most fundamental aspects of PLM
analysis or correctly identifying chrysotile by PLM. A summary of the analytical failings of MAS
appears below and is expanded upon in the demonstrative materials that I have attached as Exhibit C.
The bases for my opinions are my experience, education, training, my publications that are listed in
Exhibit A, and the sources cited in this report and the attached Exhibit C.

Summary of Analysis

       Dr. Longo’s laboratory’s identification of “chrysotile” in Johnson’s Baby Powder by PLM is
incorrect and unreliable for the following reasons:

   1. MAS’s Procedure for Measuring Refractive Index Values is Inaccurate and Unreliable

         a. MAS Used Suppressed Light Intensity, Leading to Inaccurate and Unreliable
            Refractive Index Value Determination

        In order to accurately measure the RI value of a mineral by PLM, it is fundamental that the
equipment used needs to be set appropriately. MAS routinely uses insufficient light intensity, as if the
light intensity was suppressed, which in turn subdues the dispersion staining color, resulting in a
subdued RI value and a subdued birefringence value. The result is that talc’s high γ and the associated
birefringence are suppressed, making the elongated talc particle look like chrysotile. If the light
suppression is unintentional, then MAS has failed to conduct basic PLM procedures, such as adjusting
the light intensity and aperture diaphragm to optimal condition to achieve a fully and adequately
displayed dispersion staining color or accurately calibrating the objective lens so that it can measure
particles size accurately (as I will discuss further below).

       I describe examples of this problem on pages 2 through 5 of Exhibit C.




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         b. Inaccurate Refractive Index Measurement Procedure Leads to Unreliable Results

        MAS routinely fails to accurately identify the RI value exhibited by particles in its PLM
analyses. There are numerous instances of MAS assigning an RI value that is simply wrong (and
incorrectly closer to values that may be associated with chrysotile rather than talc). Based on my
review of the reports identified in Exhibit B, the data presented by MAS demonstrates a systematic
failure to assign RI values correctly. I describe examples of this systematic problem on pages 6 through
11 of Exhibit C.

        In addition, there are other instances in which a talc particle exhibits a distorted dispersion
staining color due to the total reflection occurring at the liquid-solid interface that a proficient PLM
analyst who understands the basic principles of the central stop dispersion staining technique would
recognize as a common phenomenon. Instead, MAS used the distorted dispersion staining color for RI
assignments, leading to incorrect RI value, which, in turn, led to the misidentification of talc particles
as “chrysotile.” I describe examples of this problem on pages 12 through 14 of Exhibit C.

         c. Dr. Longo's Claim That Particle Sizes Change Refractive Index Values Is Wrong

        A mineral’s RI is a constant governed by their chemical composition and crystal structure.
MAS’s theory that chrysotile’s RI increases as the particle size decreases is unfounded and defies basic
principles of physics. In fact, if such a theory is proved, it would shake the very foundation of physics.

        The National Institute of Standards and Technology (NIST) Standard Reference Material
(SRM) 1866 chrysotile RI values, α 1.549 and γ 1.556, were measured by John Phelps, a scientist at
NIST, on a single fiber using the spindle stage technique. I know these details because John Phelps was
in communication with me during the measurements that became the published SRM reference values.
The spindle stage technique was invented by Professor Donald Bloss, my Ph.D. supervisor. I am an
expert in this technique and author of the computer program used in the spindle stage measurement
procedure. The “chrysotile” fibers that MAS claims to identify in Johnson’s Baby Powder by PLM
cannot be any thinner than the NIST SRM 1866 single chrysotile fiber that serves as the data point for
the certified RI values for this material. MAS’s claim that the particle sizes of “chrysotile” it finds in
PLM analyses of Johnson’s Baby Powder are so unique is not only unfounded but also without the
support of credible measurement data that directly refutes the claim. I describe this problem on pages
15 and 16 of Exhibit C.

        Another critical fact is that certified NVLAP RI values of “Calidria” chrysotile—a unique form
of chrysotile from California that MAS claims is similar to the “chrysotile” it finds by PLM in
Johnson’s Baby Powder—are α 1.555 and γ 1.560, which are only 0.004 - 0.006 higher than the SRM
1866 chrysotile, documented by NVLAP in “ANALYSIS SUMMARY FOR NIST BULK ASBESTOS
PROFICIENCY TESTING February 2001, Test Round M12001.” Again, MAS’s claim that the
particle sizes and RI values of the “chrysotile” it found in PLM analyses of Johnson’s Baby Powder are
a match for Calidria chrysotile are inaccurate and not supported by the data. I describe this problem on
page 17 of Exhibit C.




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         d. MAS’s Complete Misunderstanding of My Central Stop Dispersion Staining Color
            Conversion Tables Leads to Incorrect and Unreliable “Chrysotile” Identification

        I have created and published procedures and reference tables that help analysts measure RI
values of the six regulated asbestos minerals, including chrysotile. MAS relies upon my procedure and
tables as part of its PLM analyses of Johnson’s Baby Powder.

       However, Dr. Longo completely misunderstood my reference table and claimed that the RI
range of my chrysotile table represents the chrysotile’s minimum and maximum RI values. This is not
true.

        To illustrate, in the International Organization for Standardization (ISO) chart included in the
22262-1 method, the possible α and γ RI ranges of chrysotile are only a small section (between the
dotted lines in the following figure) of the dispersion staining color chart; the chart must cover the
whole dispersion staining color spectrum, and the same is true of my conversion table. The ranges of
the ISO chart and my table must be much wider than the RI range of chrysotile.

My table is the numerical version of the ISO graphic chart for people who understand the principle. For
people who do not understand this basic principle of my procedure and tables, it is impossible to
correctly perform the analytical procedure of RI measurement by dispersion staining technique.




       I describe this problem on pages 18 through 20 of Exhibit C.

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         e. Dr. Longo’s Understanding of the Refractive Index Liquid’s Effect on Mineral’s
            Refractive Index Values Is Wrong

       In 2022, I published a paper on the application of the dispersion staining technique to asbestos
analysis. I recommended the use of 1.560 RI liquid for measuring the γ of Calidria chrysotile to
improve the accuracy of measurement.

      The only purpose of switching from 1.550 to 1.560 is to improve the accuracy of RI
measurement because chrysotile’s RI is a constant and does not change with the surrounding liquid
medium.




        The above diagram shows two beakers; the left one is wider, representing 1.560 liquid, and the
right one is thinner, representing 1.550 liquid. The volume of water represents the γ refractive index.

      The 300 milliliters of water volume – γ value – does not change, but the water level – λm –
changes from a shorter (upper) matching wavelength to a longer (lower) matching wavelength.

        In 2022, Dr. Longo switched to 1.560 RI liquid. Without any background in optical
crystallography, he mistakenly thought measuring in the 1.560 RI liquid would give his laboratory
results different from those using 1.550 RI liquid. As noted below, MAS’s use of the 1.560 RI liquid
produced a suite of α and γ values similar to the 1.550 RI liquid values, none of which establish the

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presence of chrysotile.




      The above table summarizes 12 pairs of α and γ values from 2023 (M71614 and M71643) and
2024 (M71740) reports.




        When I used the term “significantly higher” to describe Calidria chrysotile as compared to
NIST SRM 1866 chrysotile, the RI values were in the area of .006 to .004 higher as described above.
MAS’s “chrysotile” is another “significantly higher” increase above Calidria chrysotile. Were those
data credible (and they are not), MAS single-handedly discovered a new type of chrysotile, whose RI is
significantly higher than the Calidria chrysotile as shown in the above table. Obviously, there has
never been any report of the existence of such a unique type of chrysotile with such peculiar optical
properties. MAS is simply wrong again.

       I describe this problem on pages 21 and 22 of Exhibit C.




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   2. MAS’s Procedure for Measuring Particle Sizes is Inaccurate and Unreliable

       a. Scale Bars Are Completely Inaccurate




      MAS reported the above talc particle size data from analyzing approximately 30 containers of
Johnson & Johnson talcum powder products by SEM using image analysis software in 2017. The
maximum particle size is 37 micrometers, which makes sense because the specification of Baby
Powder is passing through a 325 mesh (44 micrometers) sieve.




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       The above table summarizes eight reports over the last five years. The dramatic variation of the
“chrysotile” particle size, which is in the same size ranges as talc that can be seen in the PLM
photomicrographs in each of the above reports, clearly indicates inaccurate scale bars, leading to
inaccurate particle size measurements.

       The creation of an accurate scale bar is a fundamental (and normally very easy) procedure of
PLM. Over the years, MAS’s systematic failure to create accurate scale bars for their analyses of
Johnson’s Baby Powder by PLM can only be attributed to the lack of basic expertise of MAS’s
analysts.




         The width of the field of view (FOV) can be calculated from the scale bar length or the width of
an object in the image. In the March 18, 2020 report M71095, the 814 μm field of view (FOV) width
was wrong. Five years later, the mistake remained uncorrected. The February 15, 2024 report M71228
still reported a grossly wrong FOV width of 113 μm. Regardless of the microscope’s make, Olympus

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Nikon Leitz or Leica, the FOV width for a 10X objective lens is slightly over 1 mm or 1,000 μm.

       What is important is that the particle sizes in these two micrographs with drastically different
FOV widths are the same. That is because they are taken at the same magnification but the scales
reported by MAS are wrong.

        The only conclusion is that MAS is not capable of correctly performing PLM’s most
fundamental operation procedure: measuring the sizes of particles that it is analyzing. On occasion, the
particle sizes are incorrect by ten times or more.

       I describe this problem on pages 23 through 25 of Exhibit C.

       b. If Chrysotile Was Truly Present In Johnson’s Baby Powder, Its Particle Sizes Would
          Not Match Talc, as MAS Claims

       Although MAS fails to correctly measure particle size by PLM, the micrographs in every
Johnson’s Baby Powder analytical report document the undeniable fact that the particle size of the
claimed “chrysotile” matches the particle size of the surrounding talc. If that were true, it means the
chrysotile’s particle size was reduced to the particle size range of talc particles during the milling
process of Johnson’s Baby Powder production.

         Chrysotile is a mineral with a very high tensile strength, around 100,000 pounds per square
inch. It is so strong that it used to be woven into fabrics for making heat protection gears used in steel
mills. It is also a super anti-abrasion additive used to make automobile braking shoes.

       On the other hand, talc is the softest mineral on Earth. It is easily breakable.

        The two minerals have drastically different grinding behaviors. When ground together, talc is
easily and quickly ground into fine powders, whereas chrysotile is reduced to a particle size of
hundreds of micrometers, significantly larger than talc. This differential grinding effect has been
confirmed by US Pharmacopeia (2022) and Pier (2017).

       Therefore, the “chrysotile” particles within the particle size range of talc powders cannot be
chrysotile. They are talc.

       I describe this problem on pages 26 through 52 of Exhibit C.

   3. MAS’s Procedure for Reporting Amounts of “Chrysotile” Identified in Johnson’s Baby
      Powder is Inaccurate and Unreliable

       a. Visually Estimated Percentages Are Inherently Unreliable

        EPA bulk asbestos analysis procedure requires a point counting procedure for the asbestos
quantification. The visual estimate procedure cannot quantify asbestos concentration at 0.00x% level,
let alone 0.000x% level. NVLAP requires calibrated visual estimates (CVEs) for quantifying asbestos
by PLM at the 1% level. Even at the 1% level, CVEs are difficult and require visual reference charts of
the type that I have published. Yet MAS claims that it is capable of performing visual estimates of
“chrysotile” concentrations beyond one ten thousandth of a percent without so much as a visual
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reference chart against which to compare. There is no scientific justification for this claim and certainly
no methodology or validation establishing the accuracy of these visual estimates by MAS.

       I describe this problem on pages 53 through 64 of Exhibit C.

       b. Fiber Per Gram Figures Based on Inappropriate Extrapolation from Unpublished
           Method with No Calculated Rate of Error

       Dr. Longo’s unpublished “concentration” preparation technique leads to highly variable and
inappropriate extrapolated quantitative results. As an example, in the February 28, 2023 Valadez
Report, a sample size of 0.000017 grams was used to extrapolate to 1 gram of Baby Powder—58,824
times extrapolation. Given the 0.0003 to 0.0006% chrysotile concentration claimed, a lenient 0.5%
maximum allowed error, and a sample size of 0.000017 grams, the calculated Confidence Level is less
than 50%, making the False Positive error rate greater than 50%. Such an irresponsible and unheard-of
False Positive error rate is totally unacceptable as part of an analytical methodology. A responsible
laboratory will never adopt such a sampling scheme to make the False Positive error rate greater than
50%. And such a methodology could never pass scrutiny to become an accepted method by any
standards setting organization.

       I describe this problem on pages 65 through 75 of Exhibit C.

   4. MAS’s Liquid Density Sample Preparation Procedures for “Chrysotile” are Inaccurate
      and Unreliable




       While I have reviewed all of the reports included in Exhibit B, the above table includes the
weight recovery fractions reported by MAS in a handful of Johnson’s Baby Powder products over a
five-year span. This small group of samples is illustrative of the high degree of variation in the sample
preparation procedure as well as the inability of MAS’s sample preparation procedure to effectively
concentrate the “chrysotile” that it claims to find in Johnson’s Baby Powder.

       As shown in the table above, from 2020 to 2024 over a five year span using various different
sample preparation techniques as described in MAS’s reports, the heavy liquid separation sample
preparation procedure produced a series of extremely inconsistent light fractions ranging from 13.4% to
24.2% in talcum powder products, which further produced “chrysotile” concentrations ranging from
0.003% to 0.01%. For Baby Powder samples consisting of 99.9% talcum powder, which should be in
the heavy fraction, how possible is the light fraction more than 1%? It is beyond comprehension that
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those ridiculous two-digit light fraction results did not make MAS realize something was grossly wrong
with each and every sample preparation procedure that it tried over the course of five years.

       The extremely high degree of volatility in weight recovery is not only a result of the deficiency
in MAS’s sample preparation procedure but also a clear indication of the non-existence of chrysotile.
There is no chrysotile to concentrate regardless of the heavy liquid density separation process used.

       I describe this problem on pages 76 and 77 of Exhibit C.

Conclusion

        For the reasons stated above, I disagree with each and every single identification of “chrysotile”
in Johnson’s Baby Powder made by Dr. Longo’s laboratory in the reports that I have reviewed. The
data presented by MAS demonstrate systematic and chronic deficiencies in almost every aspect of
operation, from the equipment setup and calibration to the sampling procedure, the sample preparation
processes, the execution of the analytical procedure, and reporting quantification procedure, which
leads me to conclude that the laboratory is incapable of performing the most basic aspects of PLM
analytical procedure let alone correctly identifying chrysotile by PLM.

       The following is a summary of MAS’s systematic and chronic deficiencies:
               Inability to ensure a 95% Confidence Level of quantification.
               Inability to correctly interpret dispersion staining colors.
               Inability to calibrate dispersion staining colors.
               Inability to understand the relationship between the material’s refractive index and
                 the refractive index of liquids used for measurement.
               Inability to conduct calibrated visual estimate (CVE).
               Inability to check the internal consistency of analytical data.
               Inability to correctly measure particle size under a polarized light microscope.
               Inability to correctly create scale bars.
               Inability to understand the fundamental physics principles governing the relationship
                 between a material’s refractive index and physical dimension.
               Inability to understand the fundamental geological principles governing the formation
                 of minerals and mineral ore deposits.

        I hold all of the opinions that I expressed in this report and Exhibit C to a reasonable degree of
scientific certainty.




                                                                       By:_________________________
                                                                                     Dr. Shu-Chun Su


                                                                      Date: May 21, 2024


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Exhibit A – Biography

                             National Voluntary Laboratory Accreditation Program
                                National Institute of Standards and Technology
                                           Department of Commerce
                                                       USA

Dr. Shu-Chun Su

Shu-Chun Su became an NVLAP Technical Expert for the Bulk and Airborne Asbestos Programs in 1988. Since
then, he has conducted close to a thousand NVLAP on-site assessments of bulk and airborne asbestos
laboratories in the USA, Canada, Japan, and Korea.

Skills and Expertise
Dr. Su is an accomplished expert in general and optical mineralogy, petrography, igneous and metamorphic
petrology, geochemistry, crystal chemistry, powder and single crystal X-ray crystallography, digital image
analysis, and various microscopy techniques, including polarized light microscopy, scanning electron
microscopy, transmission electron microscopy, infra-red micro-spectroscopy, Raman micro-spectroscopy,
confocal laser scanning microscopy, etc. Dr. Su's analytical approach to derive refractive indices at various
wavelengths from dispersion staining data was recognized to be "Su's Method" by Professors R. E. Stoiber and
S. A. Morse at Massachusetts University, Amherst, in "Crystal Identification with the Polarizing Microscope,"
Springer, 358pp, 1994. By applying this method to bulk asbestos analysis, he has developed a standardized
procedure for rapidly and accurately determining refractive indices of asbestos fibers using the dispersion
staining technique. The procedure has been used by more than 95% of asbestos laboratories in the USA,
Canada, Japan, and Korea since 1994 and was formally published in 2003.
In the area of airborne asbestos analysis, Dr. Su has developed a computer program as well as detailed d-
spacing and interfacial angle tables for the six regulated asbestos minerals plus winchite, richterite, and talc to
assist the indexing and interpretation of zone-axis SAED (selected area electron diffraction) patterns. It's been
widely used by airborne asbestos laboratories around the world.

Education, Work History, and Relevant Work Experience
Dr. Su obtained a B.S. in Geochemistry from Peking University, China, in 1964 and worked in the Central
Laboratory, Geological Survey of Gansu Province for 17 years. After earning an M.S. in Mineralogy at the
Institute of Geology and Geophysics, Chinese Academy of Sciences in 1981, Dr. Su came to the U.S. to pursue
graduate study in crystal chemistry, optical crystallography, and silicate mineralogy with Professors F. Donald
Bloss and Paul H. Ribbe at Virginia Polytechnic Institute and State University. After completing his Ph.D. in
Geology/Mineralogy in 1985, he did post-doctoral research to develop an automated refractometer and joined
Hercules Incorporated in 1987. Before his retirement in 2006, he was a Senior Research Scientist and Director
of the Light and Electron Microscopy Laboratory at Hercules Research Center, Wilmington, Delaware. He is a
Fellow of the Mineralogical Society of America.

Rev. 2024-02-22

29 Publications Relevant To Asbestos Analysis
2024     Su, S.C. The Unification of Becke Line and Dispersion Staining Techniques For the Determination of
         Refractive Index of Non-Opaque Materials. The Microscope. 70:3,        99–112.
         https://doi.org/10.59082/XCLR4173

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2023   Su, S.C. The Calibration of Dispersion Staining Colors. The Microscope, 70:1, 3-21.
       https://doi.org/10.59082/HNQR9171

2022   Su, S.C. The Dispersion Staining Technique and Its Application to Measuring Refractive Indices of Non-
       opaque Materials, with Emphasis on Asbestos Analysis, The Microscope, 69:2, pp 51–69;
       https://doi.org/10.59082/ZGWM6676.

2022   Su, S.C. Area Percentage Charts to Aid Visual Estimation of Asbestos Concentration in Bulk Asbestos
       Samples. The Microscope, 69:4, 160-162. https://doi.org/10.59082/RPCG4507

2021   Su, S.C. Indexing and Interpretation of Zone-Axis SAED Patterns of Amphibole Asbestos Minerals in
       the Asbestos Analysis by Transmission Electron Microscopy. in Asbestos and Other Elongate Mineral
       Particles—New and Continuing Challenges in the 21st Century, ed. J. R. Millette and J. S. Webber
       (West Conshohocken, PA: ASTM International, 2021), 471–499. https://doi.org/
       10.1520/STP163220200071

2020   Su, S.C. A Comprehensive Suite of d-0 Look-Up Tables for Indexing Zone-Axis SAED Patterns of
       Amphibole Asbestos and Related Minerals. The Microscope, 68:3/4, 99-110, Appendix:
       Comprehensive Lattice Plane Spacing d and Interplanar Angle Tables of Asbestos and Talc Minerals.
       888 pages

2014   Su, S.C. Can AHERA Bulk Asbestos Method Statistically Differentiate ACM from Non-ACM? Johnson
       Conference, July 21- 23, 2014. Burlington, Vermont.

2012   Su, S.C. Fundamental Flaws of AHERA Test Method for Determining Asbestos Concentration of Bulk
       Insulation Samples. Proceedings of Geological Society of America, Annual Meeting, November 4 - 7,
       2012. Charlotte, North Carolina.

2005   Su, S.C. Analytical Sensitivity of Bulk Asbestos Analysis. Proceedings of 2005 ASTM Johnson
       Conference. July 18 - 22, 2005. Burlington, Vermont.

2005   Su, S.C. Dispersion Staining – A Versatile Complement to Becke Line Method for Refractive Index
       Determination. Special Supplement to Geochimica et Cosmochimica Acta, A727.

2004   Gunter, M.E., Weaver, R., Bandli, B.R., Bloss, F.D., Evans, S.H., and Su, S.C., Results from a McCrone
       spindle stage short course, a new version of EXCALIBR, and how to build a spindle stage. The
       Microscope, 52, 23-39.

2003   Su, S.C., A rapid and accurate procedure for the determination of refractive indices of asbestos
       minerals. American Mineralogist, 88, 1979-1982.

2001   Su, S.C., Applications of Dispersion Staining Technique in Image Analysis of Colorless Particles. Rieder,
       C. L., Ed., Proceedings of 59th Annual Meeting of the Microscopy Society of America, 817-818.

1993   Su, S.C., Determination of the refractive index of solids by dispersion staining method - An analytical
       approach. Rieder, C. L., Ed., Proceedings of 51st Annual Meeting of the Microscopy Society of
       America, 456-457.
1992   Su, S.C., Calibration of refractive index liquids using optical glass standards with dispersion staining
       technique. The Microscope, 40, 95-108.

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1988    Gunter, M.E., Bloss, F.D., and Su, S.C., EXCALIBR revisited. American Mineralogist, 73, 1481-1482.

1987    Peacor, D.R., Dunn, P.J., Su, S.C., and Innes, J., Ribbeite, a unit-cell twinned polymorph of alleghanyite
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1987    Solie, D.N. and Su, S.C., An occurrence of barium-rich mica from Alaska Range. American Mineralogist,
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1987    Dunn, P.J., Peacor, D.R., Ramik, R.A., Su, S.C., and Rouse, R.C., Franklinfurnaceite, a Ca-Mn-Fe3+-Zn
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1987    Su, S.C., Bloss, F.D. and Gunter, M.E., Procedures and computer programs to refine the double
        variation method. American Mineralogist, 72, 1011-1013.

1987    Dunn, P.J., Peacor, D.R., Su, S.C., Wicks, F.J. and Parker, F.J., Parabrandite, the manganese analogue of
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1986    Su, S.C., Ribbe, P.H., and Bloss, F.D., and Warner, J.K., Optical properties of the high albite (analbite)-
        high sanidine solid solution series. American Mineralogist, 71, 1393-1398.

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        disorder series low-high albite. American Mineralogist, 71, 1393-1398.

1986    Su, S.C., Ribbe, P.H., and Bloss, F.D., Alkali feldspars: Structural states determined from composition
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        Mineralogist, 69, 399-403.

1984    Su, S.C., Bloss, F.D., Ribbe, P.H., and Stewart, D.B., Optic axial angle, a precise measure of Al,Si
        ordering in T1 tetrahedral sites of K-rich feldspars. American Mineralogist, 71, 1384-1392.

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        Mineralogist, 21, 93-99.
2 Book Reviews Relevant to Asbestos Analysis
1989 Su, S.C., Introduction to Optical Mineralogy, by William D. Nesse, Oxford University
        Press, New York, 1986, 325p. American Mineralogist, 74, 506.

1986    Su, S.C., Optical Mineralogy, Second Edition, by David Shelley, Elsevier Science
        Publishing Co., Inc., New York, 1985, 321 p. American Mineralogist, 71, 1060.

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Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 17 of 100 PageID:
                                  186422

28 Presentations Relevant to Asbestos Analysis
2017 Su, S.C., Instructor, Short Course on Optical Crystallography and The Spindle Stage.
        University of Idaho (January 30 – February 3, Moscow, Idaho)

2003    Su, S.C., Instructor, Short Course on Optical Crystallography and The Spindle Stage.
        INTER/MICRO-03 (July 11-13, Chicago, Illinois)

1999    Su, S.C., Instructor, Short Course on The Spindle Stage. INTER/MICRO-99 (July
        2-3, Chicago, Illinois)

1998    Su, S.C., Estimating the Refractive Index Difference between a Solid Particle and an
        Immersion Liquid. INTER/MICRO-98 (August 10-14, Chicago, Illinois)

1997    Su, S.C., Improve the Proficiency in Asbestos Identification by Polarized Light
        Microscopy. The 15th Annual Conference of the Environmental Information
        Association (former National Asbestos Council), March 22 - 25, Las Vegas, Nevada.

1996    Su, S.C., Understanding Detection Limit and Analytical Sensitivity in TEM Airborne
        Asbestos Analysis. NVLAP Annual Regional Meetings (East Region: October 4,
        Philadelphia, PA; Central Region: October 25, Minneapolis, MN; West Region:
        November 1, San Francisco, CA)

1996    Su, S.C., Back to Basics for Bulk Asbestos Analysis. NVLAP Annual Regional
        Meetings (East Region: October 4, Philadelphia, PA; Central Region: October 25,
        Minneapolis, MN; West Region: November 1, San Francisco, CA)

1995    Su, S.C., Improving Accuracy in Refractive Index Measurement in Bulk Asbestos
        Analysis. NVLAP Annual Regional Meetings (East Region: September 15,
        Cincinnati, OH; Central Region: October 6, Houston, TX; West Region: October 27,
        Los Angeles, CA).

1995    Su, S.C., Identifying Tremolite, Actinolite, and Anthophyllite in Bulk Asbestos Samples.
        NVLAP Annual Regional Meetings (East Region: September 15, Cincinnati, OH;
        Central Region: October 6, Houston, TX; West Region: October 27, Los Angeles, CA).

1995    Su, S.C., Cooke, P.M., Perkins, R.L., and Harvey, B., Analysis of Bulk Materials for
        Asbestos: The Problems and Solutions. Professional Development Seminars,
        Environmental Management '95, the 12th Annual Conference of the Environmental
        Information Association (former National Asbestos Council), April 22-26, Tempa,
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1994    Su, S.C., Measuring/recording refractive indices of asbestos fibers in NVLAP
        accredited environmental laboratories. NVLAP Annual Regional Meetings (West
        Region: June 29, Seattle, WA; Central Region: July 22, Chicago, IL; East Region:
        August 24, Gaithersburg, MD).

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1994   Su, S.C., Determination of refractive indices of Asbestos Minerals. INTER/MICRO-
       94 (July 18-21, Chicago, Illinois).

1993   Su, S.C., Determination of the refractive index of solids by dispersion staining method -
       An analytical approach. 51st Annual Meeting of the Microscopy Society of America
       (July 31 - August 4, Cincinnati, Ohio).

1990   Su, S.C., A computer program for rapidly and accurately orienting single crystals by
       X-ray precession method. Symposium in Honor of Professor F. Donald Bloss (July
       22-25, Blacksburg, Virginia).

1989   Su, S.C., Application of Spindle Stage to determining the birefringence of Synthetic
       fibers. The 28th Annual Meeting of Eastern Analytical Symposium (September 24-29,
       New York City, New York).

1989   Instructor, Short Course on Spindle Stage and Computer Methods. August 14-18.
       Offered jointly by McCone Research Institute and Virginia Polytechnic Institute and
       State University, Blacksburg, Virginia.

1989   Instructor, Short Course on Immersion Methods and Crystal Optics. August 7 - 11.
       Offered jointly by McCrone Research Institute and Virginia Polytechnic Institute and
       State University, Blacksburg, Virginia.

1986   Instructor, Short Course on Optical Identification of Crystals and Minerals. Virginia
       Polytechnic Institute and State University, Blacksburg, Virginia.

1986   Instructor, Short Course on Spindle Stage and Computer Methods. Virginia
       Polytechnic Institute and State University, Blacksburg, Virginia.

1986   Su, S.C., Ribbe, P.H., and Bloss, F.D., Optical, X-ray and microprobe study of low
       plagioclase single crystals: Discriminant analysis of discontinuities. The 14th
       General Meeting, the International Mineralogical Association (July 13-18, Stanford,
       California), Abstract with Programs, p.267.

1986   Su, S.C., Ribbe, P.H., and Bloss, F.D., Optical properties of alkali feldspars. Invited
       paper for the Symposium on Optical Properties of Minerals. The 14th General
       Meeting, the International Mineralogical Association (July 13-18, Stanford, California),
       Abstract with Programs, p.240.

1986   Su, S.C., Ribbe, P.H. and Bloss, F.D., Alkali feldspars: structural state determined from
       composition and optical angle 2V. The 99th Annual Meeting of Geological Society of
       America, Abstracts with Programs, 18, 766.

1985   Instructor, Short Course on Optical Identification of Crystals and Minerals. Virginia

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                                  186424

       Polytechnic Institute and State University, Blacksburg, Virginia.

1985   Instructor, Short Course on Spindle Stage and Computer Methods. Virginia
       Polytechnic Institute and State University, Blacksburg, Virginia.

1985   Su, S.C., Ribbe, P.H., and Bloss, F.D., Structural states and properties of a low-high
       albite series of single crystal. The 98th Annual Meeting of the Geological Society of
       America, Abstract with Programs, 17, 729.

1984   Warner, J.K., Su, S.C., Ribbe, P.H., and Bloss, F.D., Optical properties of the
       analbite-high sanidine solid solution series. The 97th Annual Meeting of Geological
       Society of America, Abstract with Programs, 16, 687.

1983   Su, S.C., Bloss, F.D., Ribbe, P.H., and Stewart, D.B., Optical axial angle, a precise
       measure of Al, Si content of the T1 tetrahedral sites in K-rich alkali feldspars. The
       96th Annual Meeting of Geological Society of America Abstracts with Programs, 15,
       701.

1983   Su, S.C., Bloss, F.D., Ribbe, P.H., and Stewart, D.B., Rapid and precise optical
       determination of Al, Si ordering in potassic feldspars. The 3rd NATO Advanced
       Study Institute on Feldspars, Feldspathoids and Their Paragenesis, June 26-July 6,
       Rennes, France.




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                                  186425


Exhibit B – List of MAS Reports Reviewed in Which MAS Identifies
“Chrysotile” by PLM in Johnson’s Baby Powder Products
       Date       MAS Project Number(s)
       2/24/2020  M70484
       3/6/2020   M66515 & M66516
       3/18/2020  M71095
       3/20/2020  M70877
       4/6/2020   M71046
       5/14/2020  M71095 Rev 1
       9/16/2020  M71109-M71111
       9/17/2020  M71166
       9/23/2020  M71095 Rev 2
       9/29/2020  M71166 Sup 1
       12/8/2020  M71166 Sup 2
       1/25/2021  M71211
       2/9/2021   M71241
       3/23/2021  M65329-013;
                  M66507-001;
                  M66508-001;
                  M66509-001;
                  M66513-001;
                  M67420-001;
                  M67420-002;
                  M67420-004;
                  M67420-005
       4/13/2021 M71216
       5/25/2021 M71228
       6/4/2021   M70859
       8/20/2021 M70877
       3/11/2022 M71262
       2/28/2023 M71614
       10/19/2023 M71643
       11/28/2023 M71730
       2/15/2024 M71740
Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 21 of 100 PageID:
                                  186426


Exhibit C – Demonstrative Materials
       Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 22 of 100 PageID:
                                         186427




IN RE JOHNSON & JOHNSON TALCUM POWDER PRODUCTS
MARKETING, SALES PRACTICES, AND PRODUCTS LIABILITY
                   LITIGATION
             MDL NO. 16-2738 (FLW) (LHG)
                    MDL Report




                                 Shu-Chun Su, Ph.D.
                                    May 21, 2024
   Dr. Shu-Chun          Su’s Analysis           of MAS’s Analytical Results
          Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 23 of 100 PageID:
                                            186428




                     Incorrect RI Measurement Procedure:
                          Suppressed Light Intensity




2024-05-21                                                                                    2
                 Incorrect RI Measurement Procedure
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 24 of 100 PageID:
                                               186429

                      MAS Misidentified Talc as Chrysotile

                                2023-02-28 - Valadez Bottle Report




                      Suppressed                                Unsuppressed




2024-05-21                                                                                       3
   Another Example of MAS’s Suppressed Illumination
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 25 of 100 PageID:
                                               186430
                              2021-06-04 M70859 JPB-UK
 Original illumination was suppressed                             Illumination unsuppressed




    Correct analysis can only be conducted when the illumination is unsuppressed.




2024-05-21                                                                                       4
 One More Example of MAS’s Suppressed Illumination
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 26 of 100 PageID:
                                               186431
                   2022-03-11 M71612 Klayman JPB & STS
 Original illumination was suppressed                             Illumination unsuppressed




    Correct analysis can only be conducted when the illumination is unsuppressed.




2024-05-21                                                                                       5
   Dr. Shu-Chun          Su’s Analysis           of MAS’s Analytical Results
          Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 27 of 100 PageID:
                                            186432




                 Incorrect RI Measurement Procedure:
                         Inaccurate RI Values




2024-05-21                                                                                    6
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 28 of 100 PageID:
                 Incorrect RI Measurement Procedure
                                               186433

                             2023-02-28 - Valadez Bottle Report




                           MAS interpreted the color as purplish red
                           and assigned it a refractive index value of
                           1.568 using Dr. Su’s conversion table.



                                                                              M71614-003’s pale yellow
                                                                              dispersion staining color
                                                                              corresponds to a matching
                                                                              wavelength of 410 nm,
                                                                              which is conversed to an
                                                                              RI of 1.593, indicating it is
                                                                              the γ’ of talc.

2024-05-21                                                                                                    7
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 29 of 100 PageID:
                 Incorrect RI Measurement Procedure
                                               186434

                   2023-11-28 - Henderson-Longo Supp. J&J Report




                           MAS interpreted the color as purple-red
                           and assigned it a refractive index value of
                           1.567 using Dr. Su’s conversion table.



                                                                              M71730-002’s pale yellow
                                                                              dispersion staining color
                                                                              corresponds to a matching
                                                                              wavelength of 400 nm,
                                                                              which is conversed to an
                                                                              RI of 1.597, indicating it is
                                                                              the γ’ of talc.

2024-05-21                                                                                                    8
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 30 of 100 PageID:
                 Incorrect RI Measurement Procedure
                                               186435

      2024-02-15 M71740 Analysis of JBP (Rochelle Kirch) Compiled Notebook




                           MAS interpreted the color as purple and
                           assigned it a refractive index value of 1.564
                           using Dr. Su’s conversion table.



                                                                              M71740-001’s pale yellow
                                                                              dispersion staining color
                                                                              corresponds to a matching
                                                                              wavelength of 400 nm,
                                                                              which is conversed to an
                                                                              RI of 1.597, indicating it is
                                                                              the γ’ of talc.

2024-05-21                                                                                                    9
   Dr. Shu-Chun          Su’s Analysis           of MAS’s Analytical Results
          Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 31 of 100 PageID:
                                            186436




                 Incorrect RI Measurement Procedure:
                       Problem Persists for Years




2024-05-21                                                                                    10
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 32 of 100 PageID:
                 Incorrect RI Measurement Procedure
                                               186437

               2021-05-25 M71228 OTShelf JBP Purchased Argentina




                           MAS interpreted the color as orange (485
                           nm) to goldish yellow (460 nm) and
                           assigned it refractive index values of 1.563
                           – 1.567 using Dr. Su’s conversion table.



                                                                              M71228-001’s pale yellow
                                                                              dispersion staining color
                                                                              corresponds to a matching
                                                                              wavelength of 400 nm,
                                                                              which is conversed to an
                                                                              RI of 1.597, indicating it is
                                                                              the γ’ of talc.

2024-05-21                                                                                                11
                    Incorrect RI Measurement Procedure
                Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 33 of 100 PageID:
                                                  186438

 The variation of dispersion staining color is due to the total reflection




It is wrong for MAS to
interpret the purple-red
CSDS color at the edge as the
representative color for the RI
assignment because it fits the
inaccurate chrysotile theory.
It is a distorted CS color due
to total reflection at the
liquid-solid interface. The
pale yellow is the right color
to choose.

                 This image explains the physics of how total reflection occurs.
  By failing to consider the distortion of dispersion staining colors caused by total reflection,
       MAS used the wrong dispersion staining color and assigned incorrect RI values.
2024-05-21                                                                                          12
There is No     Variability of Refractive                     Index within a Bundle
         Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 34 of 100 PageID:
                                           186439



                                                             It is wrong for MAS to interpret the
                                                             variation of dispersion staining color
                                                             as the variation of refractive index
                                                             within the bundle.

                                                             A mineral’s RI is a constant
                                                             governed by their chemical
                                                             composition and crystal structure.
                                                             MAS’s theory that chrysotile’s RI
                                                             increases as the particle size
                                                             decreases is unfounded and defies
                                                             basic principles of physics. In fact, if
                                                             such a theory is proved, it would
                                                             shake the very foundation of physics.

                                                             The variation of dispersion staining
                                                             color is caused by the total reflection
                                                             occurring at the liquid-solid
                                                             interface




2024-05-21                                                                                      13
There is Case
         No3:16-md-02738-MAS-RLS
              Variability Document
                                 of Refractive          Index within a Bundle
                                      32807-2 Filed 06/07/24 Page 35 of 100 PageID:
                                     186440

   Understanding the formation of distorted dispersion staining color




                                            When light transmits from an optically denser (greater RI)
                                            to an optically rarer (smaller RI) medium, total internal
                                            reflection occurs at the critical angle.
  The total reflection wavelengths are removed from the non-matching wavelength spectrum, resulting in
  the distorted dispersion staining color.

2024-05-21                                                                                               14
There is No     Variability of Refractive                     Index within a Bundle
         Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 36 of 100 PageID:
                                           186441




 The certified refractive index values in the certificate issued by NIST for SRM
 1866 apply to every fiber and fiber bundle in the standard reference material.



2024-05-21                                                                                   15
  Refractive    Index Does Not Change                       With the Particle Size
         Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 37 of 100 PageID:
                                           186442




 A mineral’s RI is a constant governed by their chemical composition and crystal structure.
 MAS’s theory that chrysotile’s RI increases as the particle size decreases is unfounded and
 defies basic principles of physics. In fact, if such a theory is proved, it would shake the very
 foundation of physics.

 The NIST SRM 1866 chrysotile RI values, α 1.549 and γ 1.556, were measured by John
 Phelps, a scientist at NIST, on a single fiber using the spindle stage technique. Dr. Longo’s
 fibers cannot be any thinner than John Phelps’s single chrysotile fiber. Dr. Longo’s claim is
 not only unfounded but also without the support of credible measurement data.




2024-05-21                                                                                          16
             Calidria Chrysotile RI Compared to 1866
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 38 of 100 PageID:
                                               186443




     The certified 1866 chrysotile RI values are α 1.549 and γ 1.556.
    The certified Calidria chrysotile RI values are α 1.555 and γ 1.560.
       Dr. Longo’s RI values are another leap beyond the Calidria
                            chrysotile RI values.



2024-05-21                                                                                       17
              MAS Used My Procedure to Measure RI
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 39 of 100 PageID:
                                               186444




                 MAS
             misinterpreted
             my table (Su,
                 2003)


2024-05-21                                                                                       18
                         MAS Misinterpreted My Table
               Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 40 of 100 PageID:
                                                 186445




   The range of each asbestos’s RI values              The kindergarten                     Like the ISO DS
   in the table must be wider than its                 stadiometer must be taller           color chart, it’s
   possible minimum and maximum RI                     than the possible heights of         much wider than the
   values.                                             children. It doesn’t mean            possible chrysotile
                                                       that kindergarten students           refractive index
                                                       can be six feet tall.                range.
   It doesn’t mean the range represents
   the possible minimum and maximum
   RI values of chrysotile or other
   asbestos minerals.




     MAS misinterpreted the ranges of
     my table are the possible minimum
          and maximum values of
       chrysotile’s refractive indices.


2024-05-21                                                                                                  19
                              MAS Misinterpreted My Table
                    Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 41 of 100 PageID:
                                                      186446




Although the possible RI ranges of chrysotile α & γ are only a small section (between the dotted lines) of the CSDS
 color chart, the chart must cover the whole λm spectrum from 300 to 1000 nm. So does my conversion table. The
    ranges of the ISO chart and my table must be much wider than the RI range (between the dotted lines) of
 chrysotile. For people who understand the principle, my table is the numerical version of the ISO graphic chart.
    2024-05-21                                                                                                20
Dr. Longo Misunderstood              the RI       Liquid’s Effect on Mineral’s RI
          Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 42 of 100 PageID:
                                            186447




   In 2022, I published a paper on the application of
   the dispersion staining technique to asbestos
   analysis. I recommended the use of 1.560 RI liquid
   for measuring the γ of Calidria chrysotile to
   improve the accuracy of measurement.
   The only purpose of switching from 1.550 to 1.560
   is to improve the accuracy of RI measurement
   because chrysotile’s RI is a constant and does
                                                         The right diagram shows two beakers, the left one
   change with the surrounding liquid medium.
                                                         is fatter, representing 1.560 liquid, and the right
   The right diagram shows two beakers, the left one     one is thinner, representing 1.550 liquid. The
   is fatter, representing 1.560 liquid, and the right   volume of water represents the γ refractive index.
   one is thinner, representing 1.550 liquid. The        The 300 milliliters of water volume – γ value –
   volume of water represents the γ refractive index.    didn’t change, but the water level – λm – did from a
                                                         shorter (upper) matching wavelength to a longer
   2024-05-21                                            (lower) matching wavelength.                        21
Dr. Longo Misunderstood              the RI       Liquid’s Effect on Minerals’ RI
          Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 43 of 100 PageID:
                                            186448


                                                                      In 2022, Dr. Longo switched to 1.560 RI
                                                                      liquid. Without any background in
                                                                      optical crystallography, Dr. Longo
                                                                      mistakenly thought measuring in the
                                                                      1.560 liquid would increase the fiber’s
                                                                      refractive index.

                                                                      Instead of improving the accuracy of RI
                                                                      measurement, the 1.560 liquid
                                                                      produced a suite of augmented α and γ
                                                                      values.

                                                                      The left table summarizes 12 pairs of α
                                                                      and γ values from M71614, M71643,
                                                                      and M71740.

                                                                      Were those data credible (they were
                                                                      not), MAS single-handedly discovered a
                                                                      new type of chrysotile, whose refractive
                                                                      index is significantly higher than the
                                                                      Calidria chrysotile as shown in the left
                                                                      table.

   Obviously, there has never been any report of the existence of such a unique type of chrysotile with such
   peculiar optical properties.

   2024-05-21                                                                                                  22
   Dr. Shu-Chun          Su’s Analysis           of MAS’s Analytical Results
          Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 44 of 100 PageID:
                                            186449




                                Incorrect Scale Bars




2024-05-21                                                                                    23
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 45 of 100 PageID:
                  MAS’s Inability to Create Scale Bars
                                               186450




                                                         Drastic variation of “chrysotile” particle
                                                         size demonstrates continued inaccuracies
                                                                in measuring particle sizes.




2024-05-21                                                                                            24
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 46 of 100 PageID:
                  MAS’s Inability to Create Scale Bars
                                               186451


                                                           The width of the field of view (FOV)
                                                           can be calculated from the scale bar
                                                             length or the width of an object.

                                                           Back on 2020-03-18, the 814 μm FOV
                                                                    width was wrong.
                     814 μm                               Five years later, the mistake remained
                                                         uncorrected. 2024-02-15 still reported a
                                                          grossly wrong FOV width of 113 μm.

                                                           Regardless of the microscope’s make,
                                                            Olympus Nikon Leitz or Leica, the
                                                           FOV width for a 10X objective lens is
                                                             slightly over 1 mm or 1,000 μm.
                     113 μm                              The only conclusion is that MAS is
                                                         NOT capable of correctly performing
                                                         the most fundamental operation
                                                         procedure of PLM.

                                                         What is important is that talc particle
                                                         sizes in these two micrographs are the
                                                         same.

2024-05-21                                                                                          25
   Dr. Shu-Chun          Su’s Analysis           of MAS’s Analytical Results
          Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 47 of 100 PageID:
                                            186452




                  Incorrect Particle Size Analysis Results




2024-05-21                                                                                    26
              Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 48 of 100 PageID:
                   MAS’s Particle Size Analysis Data
                                                186453




 ♦ MAS’s particle size measurements in various reports do not conform to the
     above data.

 ♦ MAS’s data do not conform to the material evidence of USP (2022) and Pier
     (2017)


 ♦ The maximum length of SG-210 measured by me is hundreds of micrometers,
     much longer than 10 micrometers by MAS.




2024-05-21                                                                                        27
             Incorrect         Particle Size         Measurement Results
              Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 49 of 100 PageID:
                                                186454

                       2020-02-24 MAS Rpt JBP-Zimmerman


                                                                                          All four
                                                                                          chrysotile
                                                                                          particles were
                                                                                          measured and
                                                                                          labeled by
                                                                                          MAS.




                                                                                          All four
                                                                                          chrysotile
                                                                                          particles are
                                                                                          similar to the
                                                                                          particle sizes of
                                                                                          the matrix talc
                                                                                          particles.


2024-05-21                                                                                               28
             Incorrect         Particle Size         Measurement Results
              Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 50 of 100 PageID:
                                                186455

                       2020-02-24 MAS Rpt JBP-Zimmerman


                                                                                          All four
                                                                                          chrysotile
                                                                                          particles were
                                                                                          measured and
                                                                                          labeled by
                                                                                          MAS.




                                                                                          All four
                                                                                          chrysotile
                                                                                          particles are
                                                                                          similar to the
                                                                                          particle sizes of
                                                                                          the matrix talc
                                                                                          particles.


2024-05-21                                                                                               29
             Incorrect         Particle Size         Measurement Results
              Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 51 of 100 PageID:
                                                186456

                       2020-02-24 MAS Rpt JBP-Zimmerman


                                                                                          All three
                                                                                          chrysotile
                                                                                          particles were
                                                                                          measured and
                                                                                          labeled by
                                                                                          MAS.




                                                                                          All four
                                                                                          chrysotile
                                                                                          particles are
                                                                                          similar to the
                                                                                          particle sizes of
                                                                                          the matrix talc
                                                                                          particles.


2024-05-21                                                                                               30
             Incorrect         Particle Size         Measurement Results
              Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 52 of 100 PageID:
                                                186457

                    2023-02-28 M71614 Valadez Bottle Report


                                                                                          All four
                                                                                          chrysotile
                                                                                          particles are
                                                                                          under 5
                                                                                          micrometers
                                                                                          according to
                                                                                          the scale bars.



                                                                                          All four
                                                                                          chrysotile
                                                                                          particles are
                                                                                          similar to the
                                                                                          particle sizes of
                                                                                          the matrix talc
                                                                                          particles.


2024-05-21                                                                                               31
             Incorrect         Particle Size         Measurement Results
              Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 53 of 100 PageID:
                                                186458

                          2020-03-18 M71095 Rpt JBP-Titley


                                                                                          The talc and
                                                                                          chrysotile
                                                                                          particle sizes of
                                                                                          all four
                                                                                          samples are
                                                                                          much greater
                                                                                          than MAS’s
                                                                                          own data from
                                                                                          their SEM
                                                                                          analysis.

                                                                                          All four
                                                                                          chrysotile
                                                                                          particles are
                                                                                          similar to the
                                                                                          particle sizes of
                                                                                          the matrix talc
                                                                                          particles.

2024-05-21                                                                                               32
             Incorrect         Particle Size         Measurement Results
              Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 54 of 100 PageID:
                                                186459

                          2020-03-20 M70877 Rpt JBP-Doyle


                                                                                          The talc and
                                                                                          chrysotile
                                                                                          particle sizes of
                                                                                          all four
                                                                                          samples are
                                                                                          much greater
                                                                                          than MAS’s
                                                                                          own data from
                                                                                          their SEM
                                                                                          analysis.

                                                                                          All four
                                                                                          chrysotile
                                                                                          particles are
                                                                                          similar to the
                                                                                          particle sizes of
                                                                                          the matrix talc
                                                                                          particles.

2024-05-21                                                                                               33
              Incorrect         Particle Size         Measurement Results
               Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 55 of 100 PageID:
                                                 186460

             2021-05-25 M71228 OTShelf JBP Purchased Argentina


                                                                                           The talc and
                                                                                           chrysotile
                                                                                           particle sizes of
                                                                                           all four
                                                                                           samples are
                                                                                           much greater
                                                                                           than MAS’s
                                                                                           own data from
                                                                                           their SEM
                                                                                           analysis.

                                                                                           All four
                                                                                           chrysotile
                                                                                           particles are
                                                                                           similar to the
                                                                                           particle sizes of
                                                                                           the matrix talc
                                                                                           particles.

2024-05-21                                                                                                34
             Incorrect         Particle Size         Measurement Results
              Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 56 of 100 PageID:
                                                186461

     2022-03-11 M71262 Analy of Klayman's JBP & STS Containers


                                                                                          The talc and
                                                                                          chrysotile
                                                                                          particle sizes of
                                                                                          all four
                                                                                          samples are
                                                                                          much greater
                                                                                          than MAS’s
                                                                                          own data from
                                                                                          their SEM
                                                                                          analysis.

                                                                                          All four
                                                                                          chrysotile
                                                                                          particles are
                                                                                          similar to the
                                                                                          particle sizes of
                                                                                          the matrix talc
                                                                                          particles.
2024-05-21                                                                                               35
              Incorrect         Particle Size         Measurement Results
               Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 57 of 100 PageID:
                                                 186462

2023-10-19 M71643 Johnson's Baby Powder Compiled Notebook 14-2996


                                                                                           All four
                                                                                           chrysotile
                                                                                           particles are
                                                                                           under 5
                                                                                           micrometers
                                                                                           according to
                                                                                           the scale bars.



                                                                                           All four
                                                                                           chrysotile
                                                                                           particles are
                                                                                           similar to the
                                                                                           particle sizes of
                                                                                           the matrix talc
                                                                                           particles.


 2024-05-21                                                                                               36
              Incorrect         Particle Size         Measurement Results
               Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 58 of 100 PageID:
                                                 186463

2024-02-15 M71740 Analysis of JBP (Rochelle Kirch) Compiled Notebook


                                                                                           The particle
                                                                                           sizes of four
                                                                                           chrysotile
                                                                                           particles do not
                                                                                           conform to
                                                                                           MAS’s SG-210
                                                                                           Calidria data
                                                                                           (2023).


                                                                                           All four
                                                                                           chrysotile
                                                                                           particles are
                                                                                           similar to the
                                                                                           particle sizes of
                                                                                           the matrix talc
                                                                                           particles.


 2024-05-21                                                                                               37
     Summary      of Eight Particle             Size Measurement Results
         Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 59 of 100 PageID:
                                           186464




                                    The chrysotile particle sizes of the first three samples were
                                    measured and labeled by MAS.

                                    The chrysotile particle sizes of the other five samples were
                                    measured in reference to MAS’s scale bars.

                                    None of them conforms to MAS’s data in the above table.

                                    The particle size range of every chrysotile particle is the
                                    same as the matrix talc particles.

                                    There is a great degree of inconsistency in “chrysotile”
                                    particle sizes reported by MAS over the last five years.

                                    The only conclusion is that MAS is NOT capable of fixing
                                    this systematic error because MAS lacks the ability to
                                    perform the most fundamental particle size measuring
                                    procedure by PLM.
2024-05-21                                                                                        38
                 MAS Misidentified Talc as Chrysotile
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 60 of 100 PageID:
                                               186465

                    Evidence # 2 – Particle Size




                                                                                        These four images
                                                                                        show that Calidria
                                                                                        chrysotile structure
                                                                                        lengths could be
                                                                                        hundreds of
                                                                                        micrometers much
                                                                                        longer than the 37
                                                                                        micrometers of the
                                                                                        SG-210 maximum
                                                                                        length reported by
                                                                                        MAS.




2024-05-21                                                                                                     39
                     Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 61 of 100 PageID:
                                    Tensile Strength of Chrysotile
                                                       186466




                         1.1 to 4.4 GPa or 159,000 – 638,000 Psi
Sprynskyy, M. et. al. (2011) Structural features of natural and acids modified chrysotile nanotubes.
Journal of Physics and Chemistry of Solids. Volume 72, Issue 9. Pages 1015-1026.
https://doi.org/10.1016/j.jpcs.2011.05.013.
They are stronger than steel, highly tolerant of corrosion and much cheaper than synthetic fibers. The measured tensile strength of chrysotile
fibers has been reported in the range 1.1-4.4 Gpa.
Conclusions: The raw chrysotile is presented by bundles of fibers about 50–10 micrometers in size, which are able to splitting with generation
of thinner bundles up to one micrometer. The outer diameters of individual nanotubes vary from 15 to 30 nm, while the inner diameters range
from 2 to 6 nm. The single chrysolite fibers are presented by cylindrical nanotubes of various forms: rectilinear cylinders (the most
widespread), cylinders with cup-like ends, cylinder-in-cylinder and cone-in-cone tubes.

2024-05-21                                                                                                                                  40
               Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 62 of 100 PageID:
                                Tensile Strength of Talc
                                                 186467




                                    2.33 MPa or 338 Psi
Syed, S.F., Chen, J.C. & Guo, G. (2020) Optimization of Tensile Strength and Shrinkage of Talc-Filled
Polypropylene as a Packaging Material in Injection Molding. J Package Technol Res 4, 69–78.
https://doi.org/10.1007/s41783-019-00077-6




2024-05-21                                                                                         41
               Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 63 of 100 PageID:
                        Tensile Strength of Hemp Fibers
                                                 186468




                690 – 1,000 MPa or 100,050 – 145,000 Psi
Shubhra, T.H. et. al., (2011). Mechanical properties of polypropylene composites: a review. J
Thermoplast Compos. 26. 362-391. https://doi.org/10.1177/0892705711428659.

Hemp fiber’s tensile strength is slightly lower than chrysotile


2024-05-21                                                                                         42
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 64 of 100 PageID:
                             Structure of Hemp Fibers
                                               186469



                                                               690 – 1,000 MPa or
                                                              100,050 – 145,000 Psi
                                                Zhao, S. et. al. (2021) The Physical and Chemical
                                                Properties of Hemp Fiber Prepared by Alkaline
                                                Pectinase-Xylanase System.
                                                https://doi.org/10.21203/rs.3.rs-451112/v1.

                                                   Hemp fiber’s microtube structure
                                                        resembles chrysotile




2024-05-21                                                                                          43
                Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 65 of 100 PageID:
Chrysotile and Talc Are Drastically Different in Tensile Strength
                                                  186470




          Chrysotile Mg3Si2O5(OH)4                                     Talc Mg3Si4O10(OH)2




      The nanotube structure makes the                  Bonding is weak between and within TOT layers,
          chrysotile even stronger.                              making talc easily crushable.

      Chrysotile’s tensile strength is more than 30 times that of talc. With such a high tensile strength,
    chrysotile does not break down into 325 mesh-size or < 44 μm particles in the milling process of talc.


 2024-05-21                                                                                                  44
                  Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 66 of 100 PageID:
    Chrysotile and Hemp Fiber Are Similar in Tensile Strength
                                                    186471




    The hemp’s microtube structure is similar to the nanotube structure of chrysotile, making it
     also very strong.
    Their tensile strengths are similar.
    Both are used as the reinforcement components of composite materials




    2024-05-21                                                                                        45
               How      Strong Are Chrysotile                    and Hemp Fiber?
                Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 67 of 100 PageID:
                                                  186472




             The strong chrysotile fibers are        The strong hemp fibers are used for the
              used for various applications.           construction composite materials.
2024-05-21                                                                                          46
How These    Materials Behave186473          During Mechanical Grinding?
       Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 68 of 100 PageID:




  Their high tensile strength and                        Their softness and weak bonding
strong bonding make them hard to                         make them easily break into fine
     break into fine powders.                                        powders.
2024-05-21                                                                              47
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 69 of 100 PageID:
 When Crystal Sugar and Hemp Fibers Are Ground Together
                                               186474




 If hemp fibers and sugar
 crystals are ground together




 The same is true for talc and
 chrysotile. USP’s research
                                                   Hemp fibers are crushed and
 work has proven it.                               broken into fibrils, but not into   Sugar crystals quickly break
                                                   fine powders like sugar crystals.   into fine powders


2024-05-21                                                                                                     48
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 70 of 100 PageID:
                                               186475




 USP’s experts have conducted extensive research on the topic of
 asbestos-containing talc.

 They wanted to find out how the finished talcum baby powder
 product should look if the raw talc material contained asbestos.

 They spiked an asbestos-free talc sample with asbestos minerals
 chrysotile and tremolite from NIST SRM 1866 at different
 concentration levels.
 To mimic the baby powder manufacturing process, they ground the
 asbestos-spiked talc sample inside a balling mill until the talc’s
 particle size reached the commercial specification of the finished
 baby powder product: under 44 micrometers.
 USP’s experts studied the finished baby powder samples using
 various microscopic techniques. The following are pictures taken
 under optical microscope.
2024-05-21                                                                                       49
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 71 of 100 PageID:
  NIST Standard Chrysotile in Talcum Powder (USP, 2022)
                                               186476




                           0.1% standard Chrysotile-spiked talc. Chrysotile
                          fibers’ lengths are much longer than talc particles.
2024-05-21                                                                                       50
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 72 of 100 PageID:
   NIST Standard Chrysotile in Talcum Powder (USP, 2022)
                                               186477




                          0.01% standard Chrysotile-spiked talc. Chrysotile
                          fibers’ lengths are much longer than talc particles.
2024-05-21                                                                                       51
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 73 of 100 PageID:
  NIST Standard Chrysotile in Talcum Powder (USP, 2022)
                                               186478




                          0.001% standard Chrysotile-spiked talc. Chrysotile
                          fibers’ lengths are much longer than talc particles.
2024-05-21                                                                                       6
              Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 74 of 100 PageID:
             Calidria         Chrysotile in          Talc Powder Samples
                                                186479




             The above are all NIST standard chrysotile.
                  How about Calidria chrysotile?




2024-05-21                                                                                        53
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 75 of 100 PageID:
        Calidria Chrysotile in Talcum Powder (Pier, 2017)
                                               186480




               0.05% Calidria chrysotile-spiked talc powder under PLM.
    After talc is ground into the baby powder particle sizes (325 mesh or < 44 μm),
            There are still longer (80 mm) Calidria chrysotile in the sample.




2024-05-21                                                                                       54
              Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 76 of 100 PageID:
             Conclusions          Derived from  186481    the Above Evidence

         The minute amount (e.g. 0.0003 – 0.0006%) of chrysotile found in J&J
          baby powder products by MAS must have been formed together with
          talc during the geological formation process. When the raw talc rock ore
          is used to produce baby powder products, the chrysotile is ground
          together with talc in balling mills.
         Because of its extremely high tensile strength chrysotile crystals do not
          break down to the same particle size range as talc crystals. Therefore,
          the particles of the same size as talc particles cannot be chrysotile.




2024-05-21                                                                                        55
   Dr. Shu-Chun          Su’s Analysis           of MAS’s Analytical Results
          Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 77 of 100 PageID:
                                            186482




                     Incorrect Quantification Procedure




2024-05-21                                                                                    56
     MAS’sCaseQuantitation
               3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 78 of 100 PageID:
                                     Procedure
                                            186483        Defies Common Sense




                                            In Dr. Longo’s deposition on March 22,
                                            2024 he claims that EPA’s Point Counting
                                            is not very accurate and used Visual
                                            Estimate for quantitation




2024-05-21                                                                                    57
       MASCase
           Did 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 79 of 100 PageID:
                    Not Follow EPA’s        186484 Quantitation Procedure



                                                 Baby powder is a friable material.




                                                 MAS did not follow the official EPA 600 M4 82-
                                                 200 point counting procedure for quantitation
                                                 of asbestos content in friable materials.


2024-05-21                                                                                    58
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 80 of 100 PageID:
        Reference Chart for Visual Estimate (Su, 2022)
                                               186485



                                                                                             These are the
                                                                                             asbestiform
                                                                                             reference charts
                                                                                             at 0.X% to meet
                                                                                             AHERA
                                                                                             requirement for
                                                                                             differentiating
                                                                                             ACM (asbestos
                                                                                             containing
                                                                                             material) from
                                                                                             Non-ACM. The
                                                                                             differentiating
                                                                                             factor is 1% by
                                                                                             weight:
                                                                                             ACM > 1%
                                                                                             Non-ACM ≤ 1%
                                                                                             These charts
                                                                                             have been widely
                                                                                             used by US
                                                                                             asbestos
                                                                                             laboratories and
                                                                                             were formally
                                                                                             published in
                                                                                             2022 by Shu-
                                                                                             Chun Su.

2024-03-29                                                                                                  59
   Can theCaseAsbestos%
               3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 81 of 100 PageID:
                                  in the Image
                                            186486        be Visually Estimated?



                                                                 The red fiber is
                                                                 asbestos. The round
                                                                 objects are talc
                                                                 particles.

                                                                  There is no
                                                                  established
                                                                  analytical protocol
                                                                  to do Visual
                                                                  Estimate at such low
                                                                  concentration levels.




2024-05-21                                                                                    60
                Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 82 of 100 PageID:
                 Can 0.002 – 004% Be Visually Estimated?
                                                  186487


             2023-02-28 - Valadez Bottle Report                        According to Dr. Longo’s March
                                                                        22, 2024 deposition, the 0.002 –
                                                                        004% CSM-PLM w/o HLS
                                                                        Chrys% was visually estimated.
                                                                       Can anyone visually estimate the
                                                                        red fiber’s percentages among the
                                                                        matrix round objects?




                            ?%                                                     ?%



2024-05-21                                                                                                  61
   Dr. Shu-Chun          Su’s Analysis           of MAS’s Analytical Results
          Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 83 of 100 PageID:
                                            186488




                Impossible Error Rate of Visual Estimate




2024-05-21                                                                                    62
             Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 84 of 100 PageID:
         MAS’s 0.005% Error Rate Defies Common Sense
                                               186489




                                                          In Dr. Longo’s April 2, 2024
                                                          deposition, he claimed that MAS’s
                                                          typical error rate of Visual Estimate
                                                          was 0.005%


                                                          It is not qualitative but quantitative.


                                                          NVLAP’s acceptable error rate of
                                                          Calibrated Visual estimate or CVE
                                                          is a single-digit percentage, for
                                                          example, ± 5%, not an error rate at
                                                          the third decimal place.




2024-05-21                                                                                          63
               Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 85 of 100 PageID:
The 0.005% Error Rate of Visual Estimate Defies Common Sense
                                                 186490




                                                                                The right
                                                                               man is 6 ft.
               The left man                                                   and 0.004 in.
                is 6 ft. tall.                                                tall, 0.005%
                                                                               taller than
                                                                              the left man.




               Can a human being visually tell the difference that the right man is
                                 taller by 0.004 inches? No.
  2024-05-21                                                                                       64
   Dr. Shu-Chun          Su’s Analysis           of MAS’s Analytical Results
          Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 86 of 100 PageID:
                                            186491




                     Incorrect Extrapolation Procedure.




2024-05-21                                                                                    65
         MAS’s     Analytical Results        186492of J&J Talcum Powder
           Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 87 of 100 PageID:



                             Valadez J & J Baby Powder Container




2024-05-21                                                                                     66
         MAS’s     Analytical Results        186493of J&J Talcum Powder
           Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 88 of 100 PageID:



                                2023-02-28 Valadez Bottle Report




                       MAS’s Analytical Results of a J&J
                       Talcum Powder




                                     MAS’s Conclusions
                  This baby powder contains 0.0003 – 0.0006% of chrysotile.
                  Each gram of talc contains 56,000 chrysotile bundles.

2024-05-21                                                                                     67
         Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 89 of 100 PageID:
   MAS PLM    Extrapolation Procedure      186494    Is Unpublished, Unvalidated,
               Unreliable, and Not Scientifically Justified
                                                                 Out of a 1.5 oz. container,
                                                                 MAS separated out 0.0007
                                                                 grams of talc powder for
                                                                 analysis.

                                                                 Out of the 0.0007 grams
                                                                 sample, Only 2.4% or
                                                                 0.000017 grams was actually
                                                                 counted.

                                                                 Based on the counting results
                                                                 of the 0.000017-gram sample,
                                                                 MAS concluded that one
                                                                 gram of talc powder contains
                                                                 56,000 chrysotile bundles.

                                                                 The results of 0.000017 grams
                                                                 were extrapolated to 1 gram
                                                                 of talc powder. The
                                                                 extrapolation factor is 58,824
                                                                 times!

2024-05-21                                                                                     68
         Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 90 of 100 PageID:
0.000017-Gram         PLM Results186495       Extrapolated to 1 Gram of Talc




      The total area of the United States is three million seven hundred ninety-four
      thousand one hundred square miles. Using 0.000017-gram results to extrapolate to
      1 gram of talc is like using a survey of the soil of a 0.4-acre backyard in a Kansas
      home to represent the soil of the whole United States.
2024-05-21                                                                                   69
         Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 91 of 100 PageID:
0.000017-Gram         PLM Results186496       Extrapolated to 1 Gram of Talc
     A motor vehicle plant produces 58.000 cars in a year.




                                                                    Using the
                                                                    measurement results of
                                                                    0.000017 grams sample
                                                                    to evaluate 1 gram of
                                                                    talc is like using the
                                                                    Quality Control check
                                                                    results of one vehicle to
                                                                    represent all 58,000
                                                                    vehicles produced in a
                                                                    year. It is not an
                                                                    acceptable practice.




2024-05-21                                                                                70
                        0.000017-Gram PLM Analysis is
               Case 3:16-md-02738-MAS-RLS Document 32807-2 Filed 06/07/24 Page 92 of 100 PageID:
                                                 186497
                Far From Sufficient to Ensure a < 5% False Positive
 Any analytical procedure has errors. Asbestos analysis is no exception.

 There are two types of analytical errors: Type 1 – False Positive and Type 2: False Negative.

 For litigation-related analysis, the False Positive error rate must be kept under 5% or 1%

 In other words, the analytical procedure’s Confidence Level (CL) must be at least 95% to
  ensure a < 5% False Positive error rate.

 In product liability analysis, a 95% CL test has a 5% probability of wrongly implicating an
  innocent product.

 MAS should pay more attention to the established sampling protocol and arbitrarily choose
  the amount of sample to be analyzed, which results in unacceptable False Positive rates.




 2024-05-21                                                                                        71
                       A Sample Size of 0.000017-Grams is
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                Far From Sufficient to Ensure a < 5% False Positive




All reliable methodologies require a sample size calculation to ensure a 95% Confidence Level
and keep the False Positive error rate under 5%. Above is an example that I provided to the
California Air Resources Board in 2008.
MAS did not perform any such calculation as part of its PLM methodology, which is
scientifically inappropriate.

 2024-05-21                                                                                        72
                       A Sample Size of 0.000017-Grams is
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                Far From Sufficient to Ensure a < 5% False Positive




The above equation can be used to calculate the Confidence Level for known sample size,
population proportion, and maximum allowed error. The Confidence Level of 2023-02-28
Valadez Bottle Report is far below 50%, making the False Positive error rate much greater than
50%. Such a False Positive error rate is totally unacceptable. A responsible laboratory will never
adopt such a sampling scheme to make the False Positive error rate greater than 50%.

 2024-05-21                                                                                        73
   Dr. Shu-Chun          Su’s Analysis           of MAS’s Analytical Results
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             Internally Conflicting Quantification Results.




2024-05-21                                                                                    74
                Internally         Conflicting186501   Quantification Results
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                     2021-05-25 OTShelf JBP Purchased Argentina (M71228-001)




MAS reported 137,000
chrysotile bundles constituting
a 0.005 – 0.006%wt. asbestos
concentration.
               Reported: 0.005 – 0.006; Calculated: 0.34%. Differing by 62 times.
   The conclusion is that MAS’s quantification results are NOT credible.



  2024-05-21                                                                                         75
   Dr. Shu-Chun          Su’s Analysis           of MAS’s Analytical Results
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                          Inaccurate and Unreliable
                        Sample Preparation Procedure.




2024-05-21                                                                                    76
                Incorrect Sample Preparation Procedure
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                                                 186503




          Since MAS’s chrysotile concentration is at the 0.00x% level, talc is then at 99+% level.
     If the Heavy Liquid Separation (HLS) sample preparation procedure was correctly performed,
                                   the Light Fraction would be < 1%.
     MAS’s two-digit Light Fraction results clearly indicate that MAS was NOT capable of correctly
                          performing the HLS sample preparation procedure.

2024-05-21                                                                                           77
  Summary   of Deficiencies of186504        MAS’s Analytical Procedures
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  Inability to ensure a 95% Confidence Level of quantification.

  Inability to correctly interpret dispersion staining colors.

  Inability to calibrate dispersion staining colors.

  Inability to understand the basic relationship between the material’s refractive index
   and the refractive index of liquids used for measurement.

  Inability to conduct calibrated visual estimate (CVE).

  Inability to check the internal consistency of analytical data.

  Inability to correctly measure particle size under a polarized light microscope.

  Inability to correctly create scale bars.

  Inability to understand the fundamental physics principles governing the relationship
   between a material’s refractive index and its physical dimension.

  Inability to understand the fundamental geological principles governing the formation
   of minerals and mineral ore deposits.


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